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Attorneys for Plaintiff, Door Tech, LLC

                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF ALASKA


 UNITED STATES, for the use and benefit
 of DOOR TECH, LLC,

           Plaintiff,

 vs.

 TRAVELERS CASUALTY AND
 SURETY COMPANY OF AMERICA
 PAYMENT BOND NO. 105249070,
                                                  Case No. 3:11-cv-___________
           Defendant.

                                         COMPLAINT

              COMES NOW Use Plaintiff, Door Tech, LLC (“Plaintiff”), by and through its

counsel of record, the Law Offices of Royce & Brain, and for its Complaint against Defendant,

Travelers Casualty and Surety Company of America Payment Bond No. 105249070

(“Defendant”), hereby states and alleges as follows:

                                  JURISDICTION & VENUE

              1.        Plaintiff is, and at all relevant times was, a limited liability company

organized and existing under the laws of the State of Alaska.



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              2.        Plaintiff operates as a licensed Alaska construction contractor in

accordance with the requirements of AS 08.18.151 and is in all ways qualified to bring and

maintain this action.

              3.        Based on information and belief, Defendant is a foreign corporation

organized and authorized to transact surety business in the State of Alaska.

              4.        Defendant issued Payment Bond No. 105249070 to Unit Company

(“Unit”), in its capacity as general contractor on a federal construction project located at

Elmendorf Air Force Base, Alaska, known as ELM-288 - F22A 7-Bay Aircraft Shelter, Project

No. W911KB-09-C-0015 (“Project”).

              5.        This action arises under and the Court has jurisdiction pursuant to 40

U.S.C. § 3131 et seq. (“Miller Act”).

                                               FACTS

              6.        Unit entered into a subcontract with Wilson Doors (“Wilson”) to furnish

certain labor, material, services and/or equipment to the Project.

              7.        Wilson, in turn, entered into a subcontract with Plaintiff to install certain

hangar doors in connection with Wilson’s subcontract with Unit.

              8.        Unit also subcontracted directly with Plaintiff to furnish certain other labor,

material, services and/or equipment on the Project.




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               9.     Plaintiff completed all of its subcontract scope of work on the Project on

December 28, 2010, which work was accepted by the Project owner and fully incorporated into

the Project.

               10.    Despite demand being made, Wilson failed and/or refused to pay Plaintiff,

in full, for all labor, material, services and/or equipment Wilson received from Plaintiff on the

Project.

               11.    As of January 27, 2011, Wilson owed Plaintiff a balance of $40,161.68 for

work Plaintiff performed on the Project.

               12.    On February 23, 2011, Plaintiff provided Unit with written notice of its

claim on the Project arising out of Wilson’s non-payment, in accordance with 40 U.S.C. §

3133(b)(2).

               13.    More than ninety (90) days but less than one (1) year has elapsed from the

last date on which Plaintiff furnished labor, material, services and/or equipment to the Project.

               14.    The amount due to Plaintiff as a result of the labor, material, services

and/or equipment it furnished to Wilson on the Project has not been disputed by Wilson.

               15.    Based on information and belief, Wilson is currently insolvent.

               16.    Despite demand being made, Unit failed and/or refused to pay Plaintiff, in

full, for all labor, material, services and/or equipment Unit received directly from Plaintiff on

the Project.



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              17.     As of January 27, 2011, Unit owed Plaintiff a balance of $3,863.92 for

work Plaintiff performed directly for Unit on the Project.

                        COUNT I – CLAIM ON PAYMENT BOND

              18.     Plaintiff re-alleges the paragraphs above, and further states and alleges as

follows:

              19.     Defendant issued Payment Bond No. 105249070 to Unit pursuant to the

Miller Act, for the benefit of all persons/entities supplying labor, material, services and/or

equipment to the Project.

              20.     Defendant is liable to Plaintiff for payment of all amounts owed on the

Project, which outstanding balance, as of January 27, 2011, included $40,161.68 for the work

Plaintiff furnished under its subcontract with Wilson and $3,863.92 for the work Plaintiff

furnished under its direct subcontract with Unit, for a total outstanding balance of 44,025.60.

                             COUNT II – QUANTUM MERUIT

              21.     Plaintiff re-alleges the paragraphs above, and further states and alleges as

follows:

              22.     Plaintiff is entitled to receive the reasonable value of all labor, material,

services and/or equipment it furnished to the Project.




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              23.     The reasonable value of the labor, material, services and equipment

furnished by Plaintiff to Wilson and Unit for use on the Project that remains due and owing

totaled $44,025.60 as of January 27, 2011.

                                   PRAYER FOR RELIEF

              WHEREFORE Plaintiff prays for the following relief:

              A.      For a final judgment against Defendant Payment Bond No.105249070, in

the principal amount of $44,025.60.

              B.      For an award of prejudgment interest at Plaintiff’s contract rate of 18% per

annum.

              C.      For award of costs and attorney’s fees necessarily incurred by Plaintiff in

having to bring and maintain this action.

              D.      For such other and further relief as this Court deems just and equitable.

       DATED at Anchorage, Alaska, this 9 th day of December, 2011.

                                            LAW OFFICES OF ROYCE & BRAIN
                                            Counsel for Plaintiff, Door Tech, LLC


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